                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


   IN RE:                                          )
                                                   )
   POINTCLEAR SOLUTIONS, INC.,                     ) CASE NO. 18-83286-CRJ11
   EIN: XX-XXX1564                                 ) CHAPTER 11
                                                   )
       Debtor.                                     )



     DEBTOR’S MOTION FOR ORDER PURSUANT TO 11 U.S.C. §§ 105(a), 365(a),
       AND 554 AND FED. R. BANKR. P. 6006 AUTHORIZING REJECTION OF
                CERTAIN UNEXPIRED LEASES NUNC PRO TUNC

        COMES NOW PointClear Solutions, Inc., debtor and debtor-in-possession (“Debtor”), by

 and through its undersigned counsel, and hereby moves (the “Motion”) this Court for entry of an

 order, under sections 105(a), 365(a) and 554 of title 11 of the United States Code (the “Bankruptcy

 Code”) and Rule 6006 of the Federal Rules of Bankruptcy Procedure (the ”Bankruptcy Rules”),

 authorizing the Debtor to reject certain unexpired leases of nonresidential real property set forth

 on Exhibit A and Exhibit B hereto, including any amendments, modifications, guaranties, or other

 agreements related hereto (the “Leases”) located at the address listed on Exhibit A and Exhibit B

 (the “Leased Premises”), nunc pro tunc, effective as of the Petition Date. In support of the Motion,

 Debtor states as follows:

                                 JURISDICTION AND VENUE

        1.       This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue of this case and this Motion

 in this district is proper under 28 U.S.C. §§ 1408 and 1409. The legal predicates for the relief

 requested herein are Bankruptcy Code sections 105(a), 365(a) and 554. Such relief is also

 warranted under Bankruptcy Rule 6006.




Case 18-83286-CRJ11          Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04           Desc Main
                                      Document      Page 1 of 37
                                          BACKGROUND

        2.      On November 2, 2018 (the “Petition Date”), Debtor filed a voluntary petition in

 this Court for relief under chapter 11 of the Bankruptcy Code.

        3.      Since the Petition Date, Debtor continues to manage and operate its business as a

 debtor in possession pursuant to Bankruptcy Code sections 1107 and 1108.

        4.      The Debtor acquired Worry Free Labs, Inc., on November 1, 2013. Initially, the

 Tenant remained a separate subsidiary of the Debtor during an earn out period. On May 22, 2014,

 Worry Free Labs, Inc. (the “Tenant”) entered into the Lease with 5421 Equities LLC (the

 “Landlord”), and became obligated on the Lease. On March 23, 2018, the Landlord and Debtor,

 as guarantor for the Tenant, entered into a certain Sublease Agreement (the “Sublease”) with Décor

 Aid, Inc. (as identified on Exhibit B hereto). The Tenant and the Debtor have since merged,

 rendering the Debtor primarily liable on the Lease. The Debtor has not occupied Lease Premises,

 or any part of this space, since the Sublease of the space.

                                      RELIEF REQUESTED

        5.      By this Motion, Debtor requests entry of an order under Bankruptcy Code sections

 105(a) and 554 authorizing Debtor to abandon to the Landlord (as defined below) under the Leases

 (as identified on Exhibit A and Exhibit B hereto) (including any subleases thereto), any and all

 abandoned property as of the date the respective Leases are rejected; and (b) authorization for the

 Landlord, in their sole discretion and without further notice, to dispose of such abandoned

 property, without liability to the Debtor or any third parties claiming an interest in such abandoned

 property. effective as of the Petition Date.




                                                   2


Case 18-83286-CRJ11         Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04            Desc Main
                                     Document      Page 2 of 37
                                        BASIS FOR RELIEF

        6.      As part of Debtor’s efforts to maximize value for its estate, creditors and other

 stakeholders, Debtor is working to eliminate unnecessary administrative burdens on the estate.

 Debtor has determined that Debtor’s estate would be better served by avoiding the burdens

 associated with Debtor’s continued performance under Leases. Therefore, Debtor has decided, in

 the exercise of its business judgment, that it is in the best interests of the estate, creditors and

 stakeholders to reject the Leases.

                                 REJECTION OF THE LEASES

        7.      The Leased Premises was a location where Debtor operated as part of its business

 operations. However, pursuant to the terms of the Sublease set forth on Exhibit B, the Debtor

 continues to sublet the Leased Premises to the Tenant.

        8.      The Debtor continues, however, to be obliged to pay its portion of rent under the

 Lease, even though it has no continuing operations in the location and no other productive use for

 the Leased Premises. As such, Debtor has determined that the continued maintenance of the lease

 obligations at the Leased Premises is no longer desirable and the elimination of such lease

 obligations constitutes a valid exercise of the Debtor’s business judgment.

        9.      Based on the foregoing, Debtor has determined, through an exercise of its business

 judgment, that the rejection of the Leases is in the best interests of Debtor’s estate, its creditors,

 stakeholders and other parties in interest. In considering its options with respect to the Leases,

 Debtor will be relieved from its obligations to pay rent, as well as certain other costs including,

 but not limited to, taxes, insurance, utilities, maintenance, operating expenses and other future

 related charges associated with the Leases.




                                                   3


Case 18-83286-CRJ11         Doc 52      Filed 11/28/18 Entered 11/28/18 13:55:04            Desc Main
                                      Document      Page 3 of 37
         10.     Thus, by rejecting the Leases at this time, the Debtor will avoid incurring

 unnecessary administrative charges for facilities that provide no tangible benefit to the Debtor’s

 estate. The resulting savings from the rejection of the Leases will increase the Debtor’s future

 cash flows and assist the Debtor in managing its estate.

         11.     The Debtor has analyzed the Leases to determine the appropriate date of rejection.

 The Debtor has concluded that, in order to minimize unnecessary potential costs to its estate, the

 Leases should be rejected as of the Petition Date.

         12.     Debtor believes that abandonment of any abandoned property as of the Leases’

 rejection date is appropriate because such property is of inconsequential value and/or the cost of

 removing and storing such property exceeds its value to the Debtor’s estate. Accordingly, the

 Debtor believes that rejection of the Leases and abandonment of any abandoned property is in the

 best interests of Debtor’s estate, its creditors, stakeholders and other parties in interest.

         13.     Since the Debtor no longer occupies the Lease Premises, the space has provided no

 benefit to the Debtor’s estate since the Petition Date.

                                    APPLICABLE AUTHORITY

 A.      Rejection of the Leases is a Sound Exercise of Debtor’s Business Judgment

         14.     The decision to assume or reject any executory contract or unexpired lease is a

 matter within the “business judgment” of the Debtors.

         15.     Section 365(a) of the Bankruptcy Code provides that a debtor may assume or reject

 an executory contract or unexpired lease, subject to the bankruptcy court’s approval.

         16.     A debtor’s determination to reject an executory contract is governed by the

 “business judgment standard. In re HQ Global Holdings, Inc., 290 B.R. 507, 511 (Bankr. D. Del.

 2003) (stating that a debtor's decision to reject an executory contract is governed by the business



                                                    4


Case 18-83286-CRJ11          Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04                 Desc Main
                                      Document      Page 4 of 37
 judgment standard and can only be overturned if the decision was the product of bad faith, whim,

 or caprice).

        17.     Once the debtor articulates a valid business justification, the court, “should not

 interfere ‘except upon a finding of bad faith or gross abuse of [the Debtor’s] business discretion.’”

 In re Crystalin, L.L.C., 293 B.R. at 465 (citing Lubrizol Enters., Inc. v. Richmond Metal Finishers,

 Inc., 756 F.2d 1043, 1047 (4th Cir. 1985)).

        18.     If the debtor's business judgment has been reasonably exercised, a court should

 approve the assumption or rejection of an unexpired lease. See e.g., NLRB v. Bildisco and Bildisco,

 465 U.S. 513, 523 (1984); Group of Institutional Investors v. Chicago, Milwaukee, St. Paul &

 Pacific R.R. Co., 318 U.S. 523, 550 (1943) (applying business judgment rule in context of

 assumption of a prepetition agreement); In re Farmland Indus., Inc., 294 B.R. 903, 913 (Bankr.

 W.D. Mo. 2003) (finding that a debtor must merely show that “the action taken will benefit the

 estate”) Cleveland Hotel Protective Committee v. Nat'l City Bank of Cleveland (In re Van

 Sweringen Corp.), 155 F.2d 1009, 1013 (6th Cir. 1945), cert. denied 329 U.S. 766 (1946); In re

 Cutters, Inc., 104 B.R. 886, 889 (M.D. Tenn. 1989).

        19.     The business judgment rule has vitality in chapter 11 cases and shields a debtor’s

 management from judicial second-guessing. See Comm. Of Asbestos-Related Litigants and/or

 Creditors v. Johns -Manville Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 615-16 (Bankr.

 S.D.N.Y. 1986) (“[T]he Code favors the continued operation of a business by a debtor and a

 presumption of reasonableness attached to a debtor’s management decisions.”).




                                                  5


Case 18-83286-CRJ11         Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04             Desc Main
                                     Document      Page 5 of 37
         20.     In summary, Debtor believes that the proposed rejection of the Leases is tailored to

 minimize administrative expenses, maximize distributions to creditors and return control of the

 Leased Premises to the Landlord quickly. In the exercise of its sound business judgment, Debtor

 thus seeks authority to reject the Leases effective as of the Petition Date.

 B.      The Bankruptcy Code Authorizes the Abandonment of Abandoned Property

         21.     Bankruptcy Code section 554(a) provides that "[a]fter notice and a hearing, the

 trustee may abandon any property of the estate that is burdensome to the estate or that is of

 inconsequential value and benefit to the estate." 11 U.S.C. § 554(a). Courts give great deference

 to debtor’s decisions to abandon property under Bankruptcy Code section 554. See In re Vel Rey

 Props., Inc., 174 B.R. 859, 867 (Bankr. D.D.C. 1994) ("Clearly, the court should give deference

 to the trustee's judgment in such matters."). Unless the property is harmful to the public, once the

 debtors have shown that the property is burdensome or of inconsequential value and benefit, the

 court should approve the abandonment. See id. at 868.

         22.     No prior motion for the relief requested herein has been made to this Court.

                                                NOTICE

         23.     Notice of this Motion will be given to: (i) 5421 Equities LLC, as Landlord, (ii)

 Décor Aid, Inc., as Subtenant; (iii) the Bankruptcy Administrator for the Northern District of

 Alabama, Northern Division; (iv) the parties included on the Debtor’s list of twenty (20) largest

 unsecured creditors; (v) all parties entitled to notice; (vi) all parties requesting notice; and (vii) the

 counterparties listed on Exhibit A and Exhibit B hereto.




                                                     6


Case 18-83286-CRJ11          Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04                Desc Main
                                      Document      Page 6 of 37
        WHEREFORE, premises considered, Debtor respectfully requests that the Court enter an

 Order granting the relief requested in the Motion and such other and further relief as may be just

 and proper.

     Respectfully submitted on November 28, 2018.

                                                             /s/ Stuart M. Maples
                                                             STUART M. MAPLES
                                                             (ABS-1974-S69S)

 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com

                                  CERTIFICATE OF SERVICE

        I do hereby certify that on November 28, 2018, a copy of the foregoing document was
 served on the following by Electronic Case Filing a copy of the same.

 Richard Blythe
 Bankruptcy Administrator
 P. O. Box 3045
 Decatur, AL 35602

 5421 Equities LLC
 c/o Olmstead Properties Inc.
 575 Eighth Ave. STE 2400
 New York, NY 10018-3024

 Décor Aid, Inc.
 54 West 21st Street, Suite 607
 New York, NY 10010

 20 Largest Unsecured Creditors

 All parties requesting notice

                                                     /s/ Stuart M. Maples
                                                     OF COUNSEL




                                                 7


Case 18-83286-CRJ11         Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04          Desc Main
                                     Document      Page 7 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                               Document      Page 8 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52     Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                               Document      Page 9 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 10 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 11 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 12 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 13 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 14 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 15 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 16 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 17 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 18 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 19 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 20 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 21 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 22 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 23 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 24 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 25 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 26 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 27 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 28 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 29 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 30 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 31 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 32 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 33 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 34 of 37
 EXHIBIT A




Case 18-83286-CRJ11   Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04   Desc Main
                            Document    Page 35 of 37
  EXHIBIT B

                                    CONSENT TO SUBLEASE


          The undersigned , 5421 Equities, LLC , a New York limited liability company and
  Landlord under a certain Agreement of Lease dated May 22, 2014, made with Worry Free Labs,
  Inc., as Tenant (the " Lease") covering a portion of the Sixth (6-) Floor known as Suite 607 (the
  " Demised Premises") in the building known as 54 West 21 " Street, New York , NY , hereby consents
  to the subletting of the Demised Premi ses to Decor Aid, Inc., (the ' Sublessee") pursuant to a
  certain Sublease Agreement (the "Sublease" ) dated March 23 , 2018 , upon , however, and expressly
  subject to the following terms and conditions:

          1.     Neither the gi ving of thi s consent nor anything contained in the Sublease shall serve
  to modify the Lease, increase the obligations or dimjnish the right of Landlord thereunder,
  dimini h the obligations or increase the rights of Tenant thereunder , or in any way be construed as
  giving the Sublessee any greater rights than the Tenant would be entitled to;

          2.      The giving of this consent shall not erve to waive the requirements of obtaining
  Landlord ' s consent to any further subletting of the Subleased Premises , or the Demised Premi es ,
  or to any assignment of the Lease ;

         3.     The giving of thi s consent shall not be deemed to serve to release the Tenant under
  the Lease or any successor in interest to said Tenant from any liability or obligation which such
  Tenant or any successor-in-interest may have ;

          4.       The Tenant and Sublessee both agree that the Sublease is subordinate and subject
  to all of the terms and conditions of the Lease;

         S.      The Sublease shall be deemed terminated in the event of the sooner termination of
  the Lease by either default of Tenant beyond applicable notice and cure period, dispossess of
  Tenant in summary proceedings or voluntary surrender by Tenant of its Demised Premises, or
  voluntary written termination of the Lease between Landlord and Tenant.

          6.      Notwithstanding the provisions of Article 5 hereinabove , at the election of
  Landlord , and during the continuance of a default by Tenant, Sublessee shall pay all rent and all
  other sums due under the Sublease directly to Landlord, and Tenant hereby irrevocably and
  unconditionally consent to and authorizes Sublessee upon receiving Landlord's written direction
  therefor to pay such sums directly to Landlord without requiring proof that a default by Tenant
  exists, and Tenant hereby agrees that such payment directly to Landlord shall be deemed for all
  purposes compliance by Sublessee with its payment obligations under the Sublease with respect
  to such sums. All such sums paid to Landlord by Sublessee shall be credited against sums due
  Landlord from Tenant under the Lease . All parties hereto agree that payment by Sublessee as
  aforesaid and acceptance of such sums by Landlord is solely as an accommodation and will not
  constitute a landlord-tenant relationship nor create any privity of contract between Landlord and
  Sublessee .




Case 18-83286-CRJ11          Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04                     Desc Main
                                   Document    Page 36 of 37
 EXHIBIT B

            7.       Tenant and Sublessee acknowledges and agrees that Landlord is consenting to the
    sublettin g of the Demised Premises only and not to any provision of the S ublease Agreement.

            8.      This Consent to Sublease may be executed in several counterparts, each of which
    shall constitute an original but all of which together shall constitute one and the same instrument.
    Furthermore. signatures hereto that are delivered by fax . PDF andlor email have the sa me force
    and effect as originals thereof.


                                                          LANDLORD:




                                                                           ..
                                                          Date: March ~ . 2018



     AGREED AND ACCEPTED BY :                             AGR EED AND ACCEPTED flY:

     WORRY FREE LABS, INC.                                DECOR AID, INC.
     IPOtNTCLEARS       UTI NS, INC. Parent Guarantor)

     By:   ----i~~'-t.b~~=_
     Date: March      .2018




                                                      2




Case 18-83286-CRJ11           Doc 52 Filed 11/28/18 Entered 11/28/18 13:55:04                        Desc Main
                                    Document    Page 37 of 37
